        Case 1:16-cv-11620-NMG Document 286 Filed 09/12/19 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 DAVID B. TRACEY, DANIEL
 GUENTHER, MARIA T. NICHOLSON,
 AND CORRINNE R. FOGG, individually
 and as representatives of a class of
 participants and beneficiaries on
 behalf of the MIT Supplemental 401(k)
 Plan,

                               Plaintiffs,

 v.

 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY, THE MIT
 SUPPLEMENTAL 401(K) PLAN                               No. 1:16-cv-11620-NMG
 OVERSIGHT COMMITTEE, THE
 ADMINISTRATIVE COMMITTEE,
 ISRAEL RUIZ, ALISON ALDEN, MARC
 BERNSTEIN, LAWRENCE CANDELL,
 GLENN DAVID ELLISON, MICHAEL
 HOWARD, MARTIN KELLY, S.P.
 KOTHARI, ROBERT C. MERTON,
 GUNTHER ROLAND, LORRAINE A.
 GOFFE-RUSH, GLEN SHOR, PAMELA
 WELDON, THOMAS M. WIEAND, and
 BARTON ZWIEBACH,
                       Defendants.



           NOTICE OF SETTLEMENT AND JOINT MOTION TO STAY ALL
                      PRE-TRIAL AND TRIAL DEADLINES

       Plaintiffs and Defendants file this Notice of Settlement and Joint Motion to Stay All Pre-

Trial and Trial Deadlines in the above-captioned case for forty-five (45) days. This filing is

made based on the following facts and recitals:

       WHEREAS, the parties have reached an agreement in principle to settle this case;

       WHEREAS, Plaintiffs anticipate needing 45 days to file a motion for preliminary

approval, including drafts of a notice plan, summary and complete class notices, forms of



                                                  1
          Case 1:16-cv-11620-NMG Document 286 Filed 09/12/19 Page 2 of 5



proposed orders, a plan of settlement allocation, and other ancillary materials necessary for the

Court’s consideration;

         WHEREAS, the current pre-trial and trial deadlines are as follows:

                  Case Activity                                        Deadline

 Final Pretrial Conference                             September 12, 2019

 Trial                                                 September 16, 2019


         WHEREAS, the parties have conferred and agreed, subject to the Court’s approval, to

stay all current pre-trial and trial deadlines for 45 days;

         WHEREAS, staying all current pre-trial and trial deadlines would avoid potentially

unnecessary expenses and fees while the parties finalize their settlement documents and

Plaintiffs prepare a motion for preliminary approval;

         NOW, THEREFORE, by and through the undersigned counsel, the parties jointly request

that the Court enter an order staying all current pre-trial and trial deadlines for 45 days and

setting a deadline of October 28, 2019 for Plaintiffs to file a motion for preliminary approval of

the settlement.

         Respectfully submitted this 12th day of September, 2019.

                                                    /s/ Brian D. Boyle
                                                    Brian D. Boyle (pro hac vice)
                                                    Shannon M. Barrett (pro hac vice)
                                                    Deanna M. Rice (pro hac vice)
                                                    O’MELVENY & MYERS LLP
                                                    1625 Eye Street, N.W.
                                                    Washington, DC, 20006
                                                    T: 202-383-5300
                                                    F: 202-383-5414
                                                    bboyle@omm.com
                                                    sbarrett@omm.com
                                                    derice@omm.com




                                                   2
Case 1:16-cv-11620-NMG Document 286 Filed 09/12/19 Page 3 of 5



                              Catalina J. Vergara (pro hac vice)
                              O’MELVENY & MYERS LLP
                              400 South Hope Street, 18th Floor
                              Los Angeles, CA 90071-2899
                              T: 213-430-6000
                              F: 213-430-6407
                              cvergara@omm.com

                              Roberto M. Braceras (BBO# 566816)
                              GOODWIN PROCTER, LLP
                              100 Northern Avenue
                              Boston, MA 02210
                              T: 617-570-1676
                              F: 617-523-1231
                              rbraceras@goodwinlaw.com

                              Attorneys for Defendants

                              /s/ Jerome J. Schlichter
                              Jerome J. Schlichter (pro hac vice)
                              Heather Lea (pro hac vice)
                              Joel D. Rohlf (pro hac vice)
                              Scott T. Apking (pro hac vice)
                              SCHLICHTER BOGARD & DENTON LLP
                              100 South Fourth Street, Suite 1200
                              St. Louis, MO 63102
                              T: 314-621-6115
                              F: 314-621-5934
                              jschlichter@uselaws.com
                              hlea@uselaws.com
                              jrohlf@uselaws.com
                              sapking@uselaws.com

                              Lead Counsel for Plaintiffs

                              Michael M. Mulder (pro hac vice)
                              Elena N. Liveris (pro hac vice)
                              LAW OFFICES OF MICHAEL M. MULDER
                              1603 Orrington Avenue, Suite 600
                              Evanston, Illinois 60201
                              T: 312-263-0272
                              F: 847-563-2301
                              mmulder@mmulderlaw.com
                              eliveris@mmulderlaw.com

                              Counsel for Plaintiffs



                              3
Case 1:16-cv-11620-NMG Document 286 Filed 09/12/19 Page 4 of 5




                              Stephen Churchill (BBO #564158)
                              FAIR WORK, P.C.
                              192 South Street, Suite 450
                              Boston, MA 02111
                              T: 617-607-3260
                              F: 617-488-2261
                              steve@fairworklaw.com

                              Local Counsel for Plaintiffs




                              4
        Case 1:16-cv-11620-NMG Document 286 Filed 09/12/19 Page 5 of 5



                                CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the Electronic Case Filing (ECF)

system on September 12, 2019, and thus copies will be sent electronically to the registered

participants as identified on the Notice of Electronic Filing (NEF).


                                                     /s/ Brian D. Boyle
                                                     Brian D. Boyle (pro hac vice)

                                                     Attorney for Defendants




                                                 5
